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         Juliana, et al. v. United States of America, et al.



           Expert Report of Professor John P. Weyant


                           August 13, 2018
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PRIVLEGED AND CONFIDENTIAL


I.     Qualifications


1.     I am a Professor of Management Science and Engineering, Director of the Energy
Modeling Forum (EMF), and Deputy Director of the Precourt Energy Efficiency Center at
Stanford University. I am also a Senior Fellow of the Precourt Institute for Energy and an
affiliated faculty member of the Stanford School of Earth, Energy, and Environmental Sciences,
the Stanford Woods Institute for the Environment, and the Freeman Spogli Institute for
International Studies at Stanford. My current research focuses on global climate change policy
and systems analysis, energy systems analysis, energy technology assessment, and models for
strategic planning. I currently serve as honorary co-editor of the journal Energy Economics and
on the editorial board of the journal Energy.

2.     I have been a convening lead author or lead author for the Intergovernmental Panel on
Climate Change (“IPCC”) for chapters on integrated assessment, greenhouse gas mitigation,
integrated impacts of climate change, and sustainable development. More recently, I served as a
review editor for the climate change mitigation working group of the IPCC’s fourth (2003–2006)
and fifth assessment (2010–2013) reports. I am a founder and have served as chairman of the
Scientific Steering Committee of the Integrated Assessment Modeling Consortium (IAMC)—a
collaboration of over 50 global modeling centers from around the world—since its inception in
2007. Over the years I have been active in the United States (“U.S.”) debate on climate change
policy through the Department of State, the Department of Energy, and the Environmental
Protection Agency (“EPA”). In California, I was a member of the California Air Resources
Board’s Economic and Technology Advancement Advisory Committee (ETAAC), which was
charged with making recommendations for technology policies to help implement AB 32, The
Global Warming Solutions Act of 2006.

3.     I have been awarded the U.S. Association for Energy Economics’ 2008 Adelman-Frankel
award for unique and innovative contributions to the field of energy economics and the
International Association for Energy Economics Outstanding Contributions to the Profession




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Award for 2017. I was honored in 2007 as a major contributor to the Nobel Peace Prize awarded
to the IPCC and in 2008 by Chair Mary Nichols for contributions to the ETAAC on AB 32.

4.      I was asked to provide Congressional testimony on oil security during the 1980s and
climate policy during the 1990s and have testified before several California state agencies on
climate policy during the 2000s.

5.      I earned a B.S. in Aeronautical Engineering and Astronautics, M.S. degrees in
Engineering Management and in Operations Research and Statistics all from Rensselaer
Polytechnic Institute, and a Ph.D. in Management Science with minors in Economics, Operations
Research, and Organization Theory from University of California at Berkeley. After receiving
my doctorate, I was a National Science Foundation post-doctoral fellow at Harvard’s Kennedy
School of Government.

6.      My CV, which is attached as Appendix A, summarizes my professional experiences and
accomplishments. It also includes a list of my publications, including those in the last 10 years.
I have not previously testified in federal or state court. I am being compensated for my time on
this matter at an hourly rate of $650. My compensation is not contingent on the outcome of the
litigation. I have been assisted in this matter by the staff of Cornerstone Research, who worked
under my direction. A list of documents I have relied on for my report is attached as
Appendix B.


II.     Summary of Allegations and Assignment


7.      Plaintiffs, a collection of young adults and youth, allege that the U.S. government,
broadly, and specific federal governmental agencies have been aware for decades about the harm
of carbon dioxide (CO2) emissions and the negative effects that unabated CO2 emissions have on
the global climate.1 Plaintiffs point to a White House report on the environment in 1965 and to



1 First Amended Complaint for Declaratory and Injunctive Relief, Kelsey Cascadia Rose Juliana et al., Plaintiffs, v.

The United States of America et al., Defendants, 9/10/2015 (“Complaint”), ¶1 (“For over fifty years, the United
States of America has known that carbon dioxide (‘CO2’) pollution from burning fossil fuels was causing global
warming and dangerous climate change, and that continuing to burn fossil fuels would destabilize the climate system
on which present and future generations of our nation depend for their wellbeing and survival.”).




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the EPA and Congressional Office of Technology Assessment (OTA) reports in 1990 and 1991,
respectively, as evidence of the government’s historical knowledge of the harms of greenhouse
gases (“GHG”).2 This “knowledge,” combined with an alleged failure to act to phase out CO2
emissions (part of the Defendants’ conduct at issue) has allegedly resulted in exposing Plaintiffs
to hazardous conditions through the mechanism of climate change.3 The Complaint specifies a
list of injuries that each Plaintiff has allegedly incurred because of his or her exposure to human-
induced climate change.4

8.       The Complaint alleges that there is consensus within the scientific community that
“[p]resent climate change is a consequence of anthropogenic GHGs, primarily CO2, derived from
the combustion of fossil fuels,”5 a position to which the federal Defendants agreed in their
response to the Complaint.6 Plaintiffs state that atmospheric CO2 levels in excess of 350 ppm
have created energy imbalances in the global climate and, as part of their claimed remedies, ask
the Court to direct the Defendants to take action “to ensure that atmospheric CO2 is no more
concentrated than 350 ppm by 2100.”7

9.       Plaintiffs have submitted multiple expert reports in support of their positions. I was
directed to examine aspects of the reports of Dr. Kevin Trenberth and Prof. Steven Running.
Counsel for Defendants in this matter asked me to:
             a. Evaluate whether the current climate models can tie increases in GHG (primarily
                CO2) emissions attributable to Defendants’ conduct at issue to the injuries alleged
                by Plaintiffs. Alternatively posed, can climate models demonstrate that Plaintiffs,
                living in the various states where they reside (Oregon, Colorado, Louisiana, etc.),
                suffered the types of climate-related injuries they have claimed because of
                increased CO2 emissions attributable to the actions of the Defendants?



2 Complaint, ¶¶2–3.
3 Complaint, ¶7 (“Yet, rather than implement a rational course of effective action to phase out carbon pollution,
Defendants have continued to permit, authorize, and subsidize fossil fuel extraction, development, consumption and
exportation – activities producing enormous quantities of CO2 emissions that have substantially caused or
substantially contributed to the increase in the atmospheric concentration of CO2. Through its policies and practices,
the Federal Government bears a higher degree of responsibility than any other individual, entity, or country for
exposing Plaintiffs to the present dangerous atmospheric CO2 concentration.”).
4 Complaint, ¶¶16–92.
5 Complaint, ¶202.
6 Federal Defendants’ Answer to First Amended Complaint for Declaratory and Injunctive Relief (Defendants’

Answer), ¶202.
7
  Complaint, ¶¶12, 203, 257.


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              b. Estimate what would have happened to atmospheric CO2 concentrations had the
                 U.S. government curbed U.S. CO2 emissions in 1990.


III.      Overview of Report and Summary of Opinions


10.       As is not disputed in this lawsuit, the current scientific consensus is that global
temperatures have increased, in part due to anthropogenic reasons (i.e., human-induced causes,
where human-induced causes include some unrelated to GHG and some related to GHG, of
which some part is related to Defendants’ conduct at issue). As is also not disputed in this
lawsuit, this increase in global temperatures has resulted in climate change across the planet.8 I
agree with the consensus view, and my report does not dispute this general understanding.
Rather, I am addressing the current state of the science of climate change models and their ability
to support the localized effects implicit in Plaintiffs’ claims of harm (i.e., what injury did they
suffer as a result of the Defendants’ conduct at issue).

11.       My summary opinions in this matter are:
                   The reports of Plaintiffs’ experts Dr. Trenberth and Prof. Running do not and
                   cannot reliably tie global climate change due to the Defendants’ conduct at issue
                   to the claimed injuries they allege affected Plaintiffs where they live, work, or
                   recreate. Their reports do not and cannot distinguish any injuries suffered by
                   Plaintiffs to the specific Defendant conduct at issue (versus other entities,
                   governments, or countries that have substantially contributed to human-induced
                   climate change) because the current state of our scientific understanding is not
                   sufficiently developed. This is because:
                       o These climate and climate impact models generally cannot determine the
                         regional effects of global climate change to the degree of specificity
                         necessary to causally link to specific weather events, let alone to
                         individuals and any claimed injuries.
                       o A critical challenge is that it is difficult to disentangle the effect of
                         regional climate changes from the effect of other region-specific
                         confounding factors. While the local climate affects the circumstances of
                         outcomes such as crop productivity, coastal damage from storms,
                         frequency of wildfires, injury from heat stress, etc., so do other factors
                         such as local economic growth, migration, urbanization, air and water


8   Defendants’ Answer, ¶202.


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                            pollution, forest and farm management processes, etc. The current set of
                            climate and climate impact models cannot separate these factors with
                            sufficient certainty to disentangle the effect of regional climate changes
                            from the effect of other region-specific confounding factors.
                        o Thus, the current state of the climate change and climate impact analysis
                          and modeling do not allow one to determine if the specific types and
                          magnitude of injuries to individuals, as asserted by Plaintiffs’ experts, are
                          related to something as specific as CO2 emissions attributable to
                          Defendants’ conduct at issue.
                    Dr. Trenberth’s use of the “conditional” approach that he describes does not
                    remedy the inability of current climate models to determine if Plaintiffs have been
                    injured due to the Defendants’ conduct at issue.
                    Had the U.S. government been able to stop all U.S. emissions of CO2 from fossil
                    fuels immediately beginning in 1990—whether from government entities directly
                    or from the U.S. private sector—I predict using a climate model that atmospheric
                    CO2 concentration in 2015 (when the Complaint was filed) would have been 389
                    ppm instead of 401 ppm, a 12 ppm difference.


IV.        Injury Asserted by Plaintiffs’ Expert Dr. Trenberth


12.        Dr. Trenberth discusses specific injuries that he claims Plaintiffs experienced as a
consequence of human-induced climate change.9 Exhibit 1 is a summary of the types of climate
change impacts Dr. Trenberth has made on behalf of Plaintiffs and the nature of Plaintiffs’
alleged injuries. In arriving at his conclusions, Dr. Trenberth discusses two approaches to the
climatological science research associated with climate events—one he calls the “conventional”
approach, and the other he calls the “conditional” approach.10 The conventional approach has
been the fundamental approach used by scientists and is the basis for IPCC assessments used to
inform policymakers on the state of scientific understanding of climate change and its impacts.

13.        Dr. Trenberth acknowledges the difficulties of determining if specific weather events are
the result of naturally occurring cycles versus the result of human-induced climate change under
the conventional approach. After acknowledging these limitations of the conventional approach



9   Report of Kevin Trenberth (“Trenberth Report”), April 11, 2018, pp. 20–22.
10   Trenberth Report, pp. 14–16.


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to impact assessment, Dr. Trenberth dismisses the conventional approach in favor of a new
“conditional” approach:
                    “The second kind of attribution study, the conditional approach, relates to the
                    objective of assessing the role of human activities, and especially of human-
                    induced climate change, in the event. Results depend, however, upon how the
                    questions are framed.” 11
                    “Because of the infinite variety of weather systems and how rapidly they develop
                    and respond to small perturbations, the atmospheric circulation (dynamics)
                    aspects of climate change are much less predictable than those associated with
                    heat and temperature (thermodynamics). Hence separating out the thermodynamic
                    from dynamic effects in extreme events, i.e., the conditional approach, is a new
                    fruitful way forward in evaluating attribution and results in a different set of
                    questions to be addressed than in the past (prior to 2015).”12

14.        After introducing the conditional approach, Dr. Trenberth then discusses several
examples of extreme climate events before summarizing how various Plaintiffs were affected.
What Dr. Trenberth critically does not address is how the weather events Plaintiffs experienced
resulted in the injury that he asserts they incurred due to human-induced climate change. To
understand why his assertions are unsupported, it is necessary to understand why the
conventional approach cannot translate into localized impacts at the scale necessary to know that
an individual has been injured by a human-induced changing climate, let alone injured due to the
Defendants’ conduct at issue. Dr. Trenberth’s use of the conditional approach does not remedy
these limitations.

           A.       Dr. Trenberth’s Criticisms of the Intergovernmental Panel on Climate
                    Change are Misguided

15.        Dr. Trenberth offered several criticisms of the IPCC process:
                    “it is a consensus assessment among very disparate scientists from many countries
                    with varying expertise”;
                    “it is extremely conservative and lags behind the state-of-the-art scientific
                    understanding”;


11   Trenberth Report, p. 15.
12   Trenberth Report, p. 16.




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                    “because it is thoroughly reviewed, it is not current at time of publication.”13

16.        Scientists contributing to the IPCC reports arrive at a consensus opinion. Authors who
are responsible for various chapters in the report (coordinating lead authors) work with the IPCC
leadership to recruit additional lead authors for their chapters, but can also solicit help from other
contributing authors who are scientists in specific key areas. Coordinating lead authors have
great discretion in deciding who to invite to be contributing authors and in deciding how many of
them would be useful in improving the quality of their chapters. These authors work with IPCC
leadership and governments to get the best scientific and government reviewers of the work. A
large amount of input is obtained from the experts that participate in the IPCC’s comprehensive,
open, scientific and government review cycles.

17.        The process is designed to avoid bias and to avoid drawing strong conclusions from new
literature that has not been replicated or thoroughly vetted by the relevant scientific communities.
In my opinion, the IPCC process is a detailed but necessary one that serves the purpose that Dr.
Trenberth notes: “to provide policy makers with an objective assessment of the scientific and
technical information available about climate change, its environmental and socio-economic
impacts, and possible response options.”14

18.        In criticizing the timeliness of the information provided by IPCC reports, Dr. Trenberth
ignores the flexibility in the IPCC process, afforded by its current rules, to consider the most
recent scientific work that is published closer to the time of the issuance of the IPCC’s report.
Additionally, the IPCC’s assessment reports are complemented by (a) IPCC special reports that
operate on a faster time table; (b) National Climate Assessment (“NCA”) reports done in the
U.S. every four years; and (c) analyses from the National Academy of Sciences (“NAS”) and
other scientific bodies here and abroad to develop science consensus reports to fill in and update
the state of the science between IPCC reports.




13   Trenberth Report, p. 15, footnote 5.
14   Trenberth Report, p. 15, footnote 5.


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       B.      Dr. Trenberth’s Conditional Approach Lacks the Elements to Determine
               Regional and Sectorial Impacts

19.    As noted above, Dr. Trenberth endorses a “conditional” approach for evaluating whether
extreme weather events were affected by human-induced climate change. To understand the
flaws in Dr. Trenberth’s conclusion that Plaintiffs have been injured, it is useful to understand
the models for studying climate change’s impacts.

20.    Scientists have developed a wide range of models of varying degrees of sophistication
and resolution used to study climate changes and their impacts on natural and human systems.
Three main types of models have been developed and applied in parallel. First, there are
comprehensive large-scale earth systems models of the global climate system that have been
developed over the last three or four decades. Second, a number of physical and social systems
models have been developed to study the impacts of changes in climate and other physical and
socioeconomic drivers on physical and economic activity in key sectors and regions of the
United States and elsewhere. Finally, in parallel with the other two model types, so-called
integrated assessment models have been developed and refined to combine representations of
human behavior with simplified representations of the physical earth system to study interactions
between the two in more detail. Taken together, these models are focused on measuring and
predicting the effects of climate change on natural systems and human systems in specific
locations. These models are used to try to draw conclusions about the global climate system
changing beyond the annual to decadal cycles in average weather around the world and the role
that human activities have played in driving these trends (i.e., the human-induced element of
climate change). Results from all three types of models have been used to inform global
understanding and decision making regarding global climate change and possible responses to it.

21.    The conditional approach is a partial substitute for the first type of model in the
conventional approach (i.e., the comprehensive large-scale earth system models). The
conditional attribution framework examines the influence of some meteorological measures of
extreme climate events, but does not consider the factors included in the second and third types
of models. Understanding impacts on physical and social systems—the goal of understanding
how human-induced climate change may be affecting people—is not addressed by the
conditional approach described by Dr. Trenberth.


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22.     The physical and social system models (second model type) and integrated assessment
models (third model type) examine how we are impacted by the climate event, not simply
whether the intensity of the extreme weather event may have been increased by additional GHG
emissions. For example, changes in agricultural crop growth, coastal zone damage from
hurricanes, heat stress–related illness, and wildfire activity can be affected by global climate
change, but they are also impacted by other socioeconomic factors.15 In the conventional
approach, attributing these specific changes to human-induced global climate change is a
difficult research task because (1) relating changes in local climate to change in global
climatology, including sorting out the global and regional effects of annual and inter-annual
variability on the climate system, is complicated science; and (2) the local changes that have
been observed may be due to a number of non-meteorological factors (e.g., population growth,
urban development, air and water pollution, etc.), as well as changes in local climatology. The
conventional approach attempts to understand the attribution “pathways” and has been an
important aspect of climate change research. Dr. Trenberth’s use of the conditional approach
does not eliminate the need to understand these pathways, even if it changes the initial manner in
which the climatological influence on local meteorological conditions question is posed.

23.     Since the 2001 IPCC report, some of the pathways from increased GHG concentrations to
regional changes in climate to changes on physical (e.g., crop growth, ecosystems, and sea
levels) and socioeconomic systems (e.g., food prices and farm incomes, coastal zone storm
damages) in those regions have been partially identified and measured at least qualitatively, but
others remain largely unmeasured and/or unresolved. There are confounding factors that provide
alternative explanations for regional and sectoral climate changes, and especially events that may
cause negative impacts on people and property. These confounding factors can be other physical
and human changes (e.g., population growth, urban development, costal development, forest and
agricultural management practices, air and water pollution, etc.) that affect the ability to attribute
local impacts to human-induced climate change. Also, any fine-scale projections of climate
change impacts have to model the degree of adaptation assumed in past and projected future
human behavior. Adaption refers to the process by which people change their behaviors to limit


15 “Climate Change 2001: Impacts, Adaptation, and Vulnerability,” IPCC Third Assessment Report Working Group
II Summary for Policy Makers, p. 5, https://www.ipcc.ch/ipccreports/tar/wg2/pdf/WGII_TAR_full_report.pdf.


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harmful effects from changing climates. Adaptation has been part of IPCC commentary to
policymakers.       Policymakers need to consider adaptation when they evaluate policy options
relating to climate change.

24.      In attributing specific impacts in specific locations on specific individuals, it is necessary
to analyze historical data on climate changes and other physical and socioeconomic trends in
those specific locations. In the conventional approach, this creates the challenge of running a
very high resolution climate model and/or “downscaling” the climatic conditions to the scale
where the impacts are most effectively analyzed (e.g., growing regions, water and/or river basins,
urban or rural neighborhoods, etc.). However, climate projections at finer scale are less reliable
than global averages, and the techniques for downscaling to more specific geographic locations
adds additional uncertainty to the calculations. This further adds to the lack of reliability in
projections of regional impacts resulting from incremental changes in global GHG emissions.

25.      To understand fully how global GHG concentrations contribute to regional impacts,
global climate models also need to be integrated with regional/sectoral models and then further
integrated with physical and economic impacts that until recently have not generally accounted
for other confounding influences that may affect local climate change impacts. These local
conditions can include changes in demographics (e.g., population growth, migration,
urbanization, forestry management practices) and other environmental stresses (e.g., water, air,
and solid waste pollution). I am unaware of efforts to integrate the results of any conditional
approaches with local conditions to attribute local impacts to human-induced climate change. By
failing to analyze the potential confounding effect of local conditions, Dr. Trenberth reaches
conclusions about the impacts on Plaintiffs that are unsupported and therefore unreliable.

         C.       Unsupported Logical Leap of Dr. Trenberth’s Analysis

26.      Dr. Trenberth concludes that numerous Plaintiffs have experienced extreme weather
events exacerbated by human-induced climate change and that based on where they live they
likely will experience more.16 The analytical support that Dr. Trenberth provides for each


16 Trenberth Report, p. 23 (“Plaintiffs including Jayden, Levi, Xiuhtezcatl, Victoria, Jaime, Journey, Zealand, and

Nathan are already experiencing extreme weather events that have been exacerbated due to anthropogenic climate
change. Furthermore, based on the regions where they live, it is my expert opinion that they are likely to experience
even greater impacts from extreme weather events in the coming decades.”).


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Plaintiff varies, but all his conclusions of the injuries to Plaintiffs suffer from the same failure to
connect his conditional approach conclusions to Plaintiffs’ local circumstances.

27.      To illustrate the incompleteness in Dr. Trenberth’s analysis, a few examples follow:

             a. Dr. Trenberth states: “Plaintiff Jaime from Cameron, AZ, has experienced water
                  shortages related to increasing significant drought, wildfires and heat waves.
                  Wildfires, drought and heatwaves have increased in the area of Jaime’s home and
                  reservation because of human-induced climate change.”17 As a case in point, with
                  regard to heat waves, Dr. Trenberth does not address her individual circumstance
                  nor the conditions in Arizona where she lived when experiencing heat waves.18
                  Increases in local temperature extremes have been observed in some locations as
                  global mean temperature rises, but how this has caused the incidence of heat
                  stress on local populations may also depend on whether the area has become
                  urbanized, creating what is called an “urban heat island effect” that raises inner
                  city temperatures more than in the surrounding suburban and rural areas.
                  Complicating efforts to measure incidences of heat stress are changing
                  demographics within communities, if, for example, the population becomes more
                  vulnerable (e.g., becomes more weighted to the very young or very old). Further
                  complication results if the population adapts its behavior in response to higher
                  temperatures, including undertaking less rigorous activities during heat waves or
                  times during the day when temperatures peak. Overall, Dr. Trenberth’s
                  conclusions are not supported by analysis that allows one to determine how and to
                  what degree Jaime’s experiences with water shortages, wildfires, droughts, or heat
                  waves are exacerbated by human-induced climate change. In other words, how
                  were these events different (e.g., more extreme) than in a normal year in arid
                  Arizona? Dr. Trenberth’s conclusion about the causes of Plaintiff Jaime’s injuries
                  are not based on any analysis of her situation.



17 Trenberth Report, p. 21.
18 Dr. Trenberth states that Plaintiff Jaime is from Cameron, Arizona, but the Complaint (¶66) states that she moved
to Flagstaff in 2011.




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             b. Dr. Trenberth states that Plaintiffs Levi from Florida, Journey from Kauai, HI,
                 and Victoria from White Plains, NY, all experienced hurricanes to one degree or
                 another that were magnified in some manner by human-induced climate change.19
                 Dr. Trenberth does not address the individual circumstances of the hurricanes that
                 threatened Kauai in 2015, nor in any detail Hurricanes Matthew in 2016 or Irma
                 in 2017 that reached landfall in Florida. He does discuss meteorological aspects
                 of Super Storm Sandy which affected Plaintiff Victoria.20 Extreme weather events
                 that are localized by their very nature, such as hurricanes, offer another example
                 of the challenges of determining if, or to what extent, coastal zone damage from a
                 hurricane can be attributed to human-induced climate change. Increases in
                 property losses due to hurricanes may result from more intense storms involving
                 higher winds, which may or may not be accompanied with more intense rainfall.
                 Whether flooding and any related property losses occur depends on the
                 topography of where the hurricane makes landfall combined with rainfall amounts
                 and intensity. Property losses from high winds, rain, or flooding may increase
                 simply because there are more people, infrastructure, and economic activity in
                 coastal areas now than there has been historically. Such coastal migration would
                 increase the expected damage from storms even without any climate change–
                 induced changes in the intensity of the storms.21 Dr. Trenberth concludes “Sandy
                 was undoubtedly larger and stronger as a result of climate change, and the storm
                 surge was much greater owing to high sea levels and strong winds” and that
                 subways in New York would not have flooded without these warming-induced




19 Trenberth Report, pp. 20–21.
20 Trenberth Report, p. 18. Dr. Trenberth’s discussion includes cost estimates of the storm.
21 See National Academies of Sciences, Engineering, and Medicine, Attribution of Extreme Weather Events in the

Context of Climate Change (The National Academies Press, 2016) (“NAS Report 2016”), p. 41. (“The ‘extreme’
nature of coastal flooding is therefore a product of a combination of different anthropogenic impacts, some of which
have little to do with climate-mediated effects like sea level rise.”). Adaptive strategies that can affect storm
damage and complicate attribution efforts include items such as (a) improved predictions on storm direction
providing more advanced warning times to threatened communities; (b) emergency preparedness efforts by
individuals, firms, and government agencies; and (c) stricter building code rules and enforcement.




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                  storm effects.22 Dr. Trenberth fails to analyze (or even discuss) the confounding
                  factors I mention, which renders his attributions conclusory.

             c. Dr. Trenberth states: “Plaintiff Journey in Kauai is threatened by extreme storm
                  events. In 2015 an unprecedented number of hurricanes threatened the Hawaiian
                  Islands, again enhanced by human-induced climate change.”23 Dr. Trenberth
                  offered this opinion without explanation for how and the degree to which these
                  storms were “enhanced” by human-induced climate change compared to a year
                  when Kauai would have experienced a typical number of hurricanes.24

             d. Dr. Trenberth states: “Plaintiff Jacob, Roseburg, Oregon, lives on a farm and
                  enjoys the outdoors. He has become very concerned and influenced by the
                  expanding wildfire season, especially in 2015, when smoke degraded the air
                  quality on many days. The wildfire season has become longer and more intense
                  due to human-induced climate change.”25 Dr. Trenberth’s analysis does not
                  address the degree to which the 2015 wildfire season in Oregon was affected by
                  human-induced climate change compared to a normal wildfire season in the area
                  where Plaintiff Jacob lives. Human activity in and near forests is a confounding
                  factor in any analysis of the incidence of wildfire, and Dr. Trenberth is silent on
                  such confounding factors. Importantly, in conjunction with the IPCC’s most
                  recent report, the group summarizing the state of scientific understanding for
                  policymakers noted that there was only medium confidence that climate change
                  was a minor contributor to increased wildfire activity in western U.S. forests.26
                  Specific to Oregon, Exhibit 2 is a chart prepared by the Oregon Department of
                  Forestry (“ODF”) for forests in Oregon for which ODF is responsible. The chart



22 Trenberth Report, p. 18. A Time article indicates that age or design likely contributed to the flooding problems
that the New York subway experienced in the storm. The Lessons from New York’s Flooded Subways, Jeffrey
Kluger, Time, October 30, 2012.
23 Trenberth Report, p. 21.
24 See general discussion of hurricanes at pages 10–14 of the Trenberth Report.
25 See general discussion of droughts and wildfires at pages 8–9 of the Trenberth Report.
26 “Climate Change 2014: Impacts Adaptations, and Vulnerability,” IPCC, Summary for Policymakers, p. 31

(“Increase in wildfire activity, fire frequency and duration, and burnt area in forests of the western U.S. and boreal
forests in Canada, beyond changes due to land use and fire management (medium confidence, minor contribution
from climate change)”.).


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                 overlays several types of historical data related to wildfire activity. Among the
                 contributing or potentially contributing causes of fire activity, the chart depicts
                 drought years, warm versus cool local climate phases, human-started versus
                 lightning-caused fires, and regulatory and legislative changes involving forest
                 management. Each of these factors is likely relevant in examining the extent of
                 wildfire activity in Oregon. The ODF chart undermines Dr. Trenberth’s
                 assertions that 2015 was extraordinary and that the wildfire season has become
                 longer and more intense due to human-induced climate change. At a minimum,
                 Exhibit 2 shows that Dr. Trenberth’s claims would require further analysis to be
                 scientifically reliable.

             e. Dr. Trenberth states: “Plaintiff Nathan has experienced thawing permafrost and
                 wildfires around his home in Fairbanks, Alaska, especially in 2015. Thawing
                 permafrost is uneven and more likely on sunlight slopes, and has led to tilted and
                 broken buildings and frost heaves in roads. Wildfires were widespread in Alaska
                 in the summer of 2015. These harms are made worse by human-induced climate
                 change.” 27 As with his other examples, Dr. Trenberth does not address any
                 confounding factors that might have contributed to the specific weather outcomes
                 in Alaska in 2015, the analysis of which is essential to reach a scientifically valid
                 conclusion about any causal role played by human-induced climate change on
                 Plaintiff Nathan.


V.      Limitations of Prof. Running’s Analysis


28.     Prof. Running concludes that climate change has affected Plaintiffs and impaired their
quality of life.28 See Exhibit 1. He concludes that the inaction of the U.S. government “will
serve to penalize future generations of Americans, including the Plaintiffs, for as far into the
future as I can imagine.”29 Prof. Running’s report, however, does not measure the contribution
of the U.S. government, either directly or via policy to change the behavior of the U.S. public, to

27 Trenberth Report, p. 22.
28 Report of Steven W. Running (Running Report), April 3, 2018, pp. 3, 9, 13, 14, 17.
29 Running Report, p. 29.




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the climate change trends that his report discusses. Specifically, his report fails to describe,
because the science cannot support it, the interaction between these two factors: (a) how to
disentangle natural cycles from human-induced climate change at the regional and sectoral level
he examined, and (b) what the Defendants’ contribution (whether via its direct GHG emissions
or a broader definition) is to the ecological impacts he addresses and the alleged injuries to
Plaintiffs.

29.     When Prof. Running makes claims about injuries to Plaintiffs, he simply presumes that
human-induced climate change is the major cause of the multiple hydrological and ecological
changes that he discusses, despite the fact that population growth and migration, forest and water
management practices, and wildfire and flood prevention measures are also important
determinants of the climate events he analyzed. For example, while global warming and less
precipitation lead to dryer forests on average, other human activities confound attempts to isolate
the impact of climate variables on the area of forest land burned by fires in a given region, unless
they are explicitly in the specifications of the model.30

        A.       Extreme Events

30.     Identifying the root causes of extreme events, including storms, droughts, and wildfires,
can be particularly difficult. A recent compilation report from the NAS of the known science
related to these events examined the degree to which they can be attributed to human-induced
climate change, noting:
                 “Some types of observation-based approaches to event attribution use the
                 historical context in order to determine changes in the rarity of an observed event
                 based on long-term data. For example, this might involve comparing the
                 statistical probability of an event in today’s climate to its probability in some
                 previous time several decades earlier when the concentration of anthropogenic
                 greenhouse gases (GHGs) was much lower. In practice, historical observations
                 are often not available for a long enough period to enable a reliable statistical




30Studies that consider the role of climate change in increasing fire extent may not be very definitive if, for
example, changes in the number of trees resulting from forest management practices, number of people living near
forests, number of people visiting forests, and number of forest rangers are all changing simultaneously and those
changes are not taken into account.




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                 evaluation of whether there has been a significant change in event frequency or
                 intensity.”31
                 “Droughts, floods, and wildfires, for instance, all have human, as well as natural,
                 components. Land management, controlled burning, and dams and levees impact
                 the magnitude and frequency of these extreme events.”32
                 “Non-meteorological factors can limit the accuracy of model simulations of
                 extreme events and confound observational records. Drought and wildfire are
                 examples of events for which non-meteorological factors can be especially
                 challenging in attribution studies.”33
                 “Event attribution can be further complicated by the existence of other factors that
                 contribute to the severity of impacts. For example, while many studies have
                 linked an increase in wildfires to climate change, the risk of any individual fire
                 depends on past forest management, natural climate variability, human activities
                 in the forest, and possibly other factors, in addition to any exacerbation by
                 human-caused climate change.”34

        B.       Human Influence on Wildfires

31.     Human activity is a distinct confounding factor in evaluating the causes of wildfires.
Humans are frequently responsible for starting fires. The ODF chart (Exhibit 2) shows that
human-started fires were more common than lightning-caused fires in each year between 1957
and 2017 in Oregon. It is estimated that across the coterminous U.S. 84 percent of wildfires
between 1992 and 2012 were started by people, with distinct regional differences in the
proportion of human-initiated fires.35 This research also notes that, by starting fires when they
would not start naturally, humans have prolonged the wildfire season outside of the normal
summer months.36 Finally, by starting fires where they would not start naturally, humans have


31 NAS Report 2016, p. 3.
32 NAS Report 2016, p. x.
33 NAS Report 2016, p. 7.
34 NAS Report 2016, pp. 7–10.
35 Jennifer K. Balch et al., “Human-Started Wildfires Expand the Fire Niche across the United States,” Proceedings

of the National Academy of Sciences, PNAS 114, no. 11 (March 14, 2017) (“Balch et al. (2017)”), pp. 1–2 (“[O]ver
84% of the government-recorded wildfires were started by people from 1992 to 2012. Sixty percent of the total land
area of the coterminous United States was dominated by human-started wildfires, whereas only 8% of the area was
dominated by lightning fires.”).
36 Balch et al. (2017), p. 2 (“Of all lightning-ignited fires, 78% occurred in the summer (June–August), 9% in the

spring (March–May), and 12% in the fall (September–November). In contrast, human-ignited wildfires were more
evenly distributed throughout the year, with 24% in summer, 38% in spring, 19% in fall, and 19% in winter.”).




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expanded the area where wildfires likely occur.37 Other papers suggest human presence
“swamps” the effect of climate on wildfire activity.38

32.      More people living in and near forests is a confounding factor when evaluating the causes
and impacts of wildfires. For example, the population in Oregon nearly doubled between 1969
and 2016, growing from 2.1 million to 4.1 million. Eugene, Oregon, were several Plaintiffs live,
grew 77 percent over that same period.39 Recent research indicates that people are encroaching
on forested areas, which complicates firefighting policy and potentially diverts wildfire fighting
resources.40

33.      The management of U.S. forests is another confounding factor when examining the
incidence of wildfires. Forestry management practices of fire suppression, combined with other
factors, have increased fuel loads in forests, increasing hazards compared to historical norms.41

34.      In sum, humans are frequently responsible for starting fires, but our impact on the
incidence and extent of wildfires is similarly pronounced. These types of complicated
interactions are emblematic of the confounding factors that scientists need to consider when
examining the influence of climate change. It is the part of the reason why Prof. Running’s

37 Balch et al. (2017), p. 3 (“Areas and months of moderate to high human-caused fire density had approximately

40% fewer lightning strikes, and nearly 50% higher fuel moisture levels (based on median values) than for moderate
to high lightning-caused fire density.”).
38 Alexandra D. Syphard et al., “Humans Diminish Climatic Influence on Wildfire,” Proceedings of the National

Academy of Sciences, PNAS Early Edition, December 11, 2017, p. 1 (“Climatic variation played a significant role in
explaining annual fire activity in some regions, but the relative importance of seasonal temperature or precipitation,
in addition to the overall importance of climate, varied substantially depending on geographical context. Human
presence was the primary reason that climate explained less fire activity in some regions than in others. That is,
where human presence was more prominent, climate was less important. This means that humans may not only
influence fire regimes but their presence can actually override, or swamp out, the effect of climate.”) See also
Michael L. Mann et al., “Incorporating Anthropogenic Influences into Fire Probability Models: Effects of Human
Activity and Climate Change on Fire Activity in California,” PLOS One, April 28, 2016.
39 Eugene MSA’s population rose from 208,936 in 1969 to 369,519 in 2016. “Eugene MSA vs. Oregon,

Comparative Trends Analysis: Population Growth and Change, 1969–2016,” Oregon Regional Economic Analysis
Project, https://oregon.reaproject.org/analysis/comparative-trends-analysis/population/tools/78570000/410000/.
40 Scott L. Stephens et al., “U.S. Federal Fire and Forest Policy: Emphasizing Resilience in Dry Forests,” Ecosphere,

November 11, 2016 (“Stephens et al. (2016)”), p. 1 (“Current U.S. forest fire policy emphasizes short-term
outcomes versus long-term goals. This perspective drives managers to focus on the protection of high-valued
resources, whether ecosystem-based or developed infrastructure, at the expense of forest resilience.” “Expansion of
the wildland–urban interface will continue to drive suppression costs higher; new federal partnerships with States
and local governments are needed to address this problem.”).
41 Stephens et al. (2016), p. 6 (“Accordingly, fire suppression response continues to prevail due to a set of decisions

and disincentives that heavily favor short-term outcomes. First, it is often most cost-effective in the short-term to
contain fire at the smallest reasonable extent but the collective impact of this response over the long-term is to
ensure continued fuel accumulation and greater future fire hazard…”).




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statement that an increased wildfire season due to climate change has and will affect many of the
Plaintiffs is an overbroad assertion.42 Until our scientific understanding is improved and without
a more specific examination of Plaintiffs’ circumstances, we cannot know.43 Lastly, Prof.
Running makes no effort to address the relative contribution of the Defendants versus other
global actors to his opinions.

         C.       Other Considerations in Attributing Impacts

35.      Climate change attributable to GHG emissions is a global phenomenon. Other sources of
GHG emissions dwarf emissions from fossil fuels in the United States, let alone GHG emissions
of the U.S. government. Prof. Running attributes none of Plaintiffs’ injuries to non-U.S. sources
of GHG. Not only do other countries generate the majority of GHG emissions, they also do
other things that influence outcomes in the United States. For example, Prof. Running discusses
the impacts of wildfire smoke on Plaintiffs and notes that Plaintiff Aji of Seattle experienced
smoke and ash from a wildfire in 2017, but fails to mention the Canadian influence on that
smoke and ash. The news article to which he cites notes that wildfires in Canada were
combining with smoke from other U.S. fires to inundate the Pacific Northwest.44 In this
circumstance, events in Canada influenced by regional environmental factors, Canadian forest
management practices, and Canadian wildfire fighting policies and resources contributed to the
impact on Plaintiff Aji in Seattle.



42 Running Report, p. 13 (“…will impact the many Plaintiffs in the West who suffer increased risk and severity of
impacts from wildfires near their homes, in places that they visit for recreation, and in the air they breathe during the
extended fire season, including Xiuhtezcatl, Jaime Lynn, Jacob, Sahara, Kelsey, Alex, Zealand, Nick, Aji, Nathan,
Hazel and Avery.”).
43 Additionally, the 2014 IPCC assessment report offers only medium scientific confidence that human-induced

climate change had a minor contribution to wildfire activity in the western U.S., a conclusion at odds with Prof.
Running. This IPCC report also notes low scientific confidence involving a minor contribution from climate change
on impacts to North American terrestrial ecosystems involving regional increases in tree mortality and insect
infestations in forests—another topic to which Prof. Running attributed a larger impact from human-induced climate
change and one he indicated negatively affected several Plaintiffs. See “Climate Change 2014: Impacts
Adaptations, and Vulnerability,” IPCC, Summary for Policymakers, p. 31; Running Report, pp. 13, 17.
44 Alan Blinder and Christina Caron, “Seattle Chokes as Wildfire Smoke from Canada Blankets the Northwest,”

New York Times, August 7, 2017, https://www.nytimes.com/2017/08/07/us/wildfires-canada-seattle.html
(“Government officials have cautioned people about air quality in a region that is usually known, especially at this
time of year, for pristine cobalt skies. But that has not been the case since last week, as the Pacific Northwest has
been inundated by plumes of smoke from Canada, where more than 20 wildfires are blazing.... ‘There are several
fires in the Pacific Northwest that have contributed to the smoke as well,’ said Mr. Apfel, who estimated that there
were currently about 16 large fires in Washington and Oregon. ‘Previous years have had quite a bit of rainfall, and
you get a lot of vegetation — and when it dries up, that’s what starts burning when the fire starts.’”).


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VI.      Modeling the Effects of a Cessation of U.S. CO2 Emissions


36.      As an additional element of my assignment, I was asked to determine, if possible, what
the effects would be on atmospheric CO2 concentrations had the United States eliminated all
fossil fuel CO2 emissions starting in 1990. In this analysis, I have assumed that the U.S.
government as well as all of the U.S. private sector ceased fossil fuel CO2 emissions beginning in
1990.

37.      I examined the change in atmospheric CO2 concentration from 1990 to 2015 (the date of
the Complaint), using the “Model for the Assessment of Greenhouse Gas Induced Climate
Change” (MAGICC), a widely used representation of the climate system that links CO2
emissions to the mean surface temperature on the earth.45 The IPCC has used MAGICC
extensively to predict global mean temperature increase and sea-level rise.46

38.      I used the most recent version of the model, MAGICC 6, to calculate CO2 concentrations
in the earth’s atmosphere under two CO2 emissions scenarios:47 (1) a baseline business as usual
emissions path, and (2) a 100% emissions reduction scenario where the U.S. completely stops
emitting CO2 from burning fossil fuels from 1990 forward. In the no-emissions case, I find that
global CO2 concentrations would decline by 12 ppm (from 401 to 389) in 2015 relative to the
baseline business as usual scenario. Exhibit 3A illustrates the effect of the no-emissions case.
Cases predicated on more modest emission reductions assumptions result in smaller effects on
atmospheric CO2 levels. For example, assuming an immediate and sustained 25 percent
reduction in U.S. CO2 fossil fuel emissions from 1990 forward, atmospheric CO2 concentrations
would decline from 401 ppm to 398 ppm in 2015, a 3 ppm reduction (see Exhibit 3B).48



45 MAGICC has a carbon cycle that describes how atmospheric CO2 concentrations change as a function of
emissions and a climate model that relates greenhouse gas concentrations to radiative forcing and mean surface
temperature. Major carbon sources and syncs in the carbon cycle component of MAGICC include (1) CO2
emissions from fossil fuel combustion, industrial activity, and other human-related activity such as agriculture; (2)
carbon sequestration in the ocean; and (3) carbon sequestration in land-based biomass. For more details, see Malte
Meinshausen et al., “Emulating Coupled Atmosphere-Ocean and Carbon Cycle Models with a Simpler Model,
MAGICC6 – Part 1: Model Description and Calibration,” Atmospheric Chemistry and Physics 11, no. 4 (2011), pp.
1417–1456 (“Meinshausen et al. (2011)”).
46 Meinshausen et al. (2011).
47 MAGICC 6 makes several updates to previous versions, including a more detailed carbon cycle. Meinshausen et

al. (2011) provide a summary.
48 If asked, I could do this calculation for other assumptions about U.S. CO emissions.
                                                                            2




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Executed this 13th day of August, 2018




                                   ___________________________________
                                                            John P. Weyant, Ph.D.




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                        Appendix A
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                                     CURRICULUM VITAE
                                      (as of August 11, 2018)
                                         John P. Weyant

                                         BACKGROUND

ADDRESSES
    Room 260 Huang Engineering Center
    Stanford University
    Stanford, CA 94305-4121
    (650) 723-3506

       861 Allardice Way
       Stanford, CA 94305
       (650) 494-3570

PROFESSIONAL INTERESTS
     Application of quantitative methods to policy development and strategic planning.

ACADEMIC APPOINTMENTS
    STANFORD UNIVERSITY
          Professor – Dept. of Management Science and Engineering (1/2000 – present)
          Professor- Engineering-Economic Systems and Operations Research (9/96-12/99)
          Professor - Department of Engineering-Economic Systems (9/89-8/96)
          Associate Professor - Department of Engineering-Economic Systems (9/84-8/89)
          Senior Research Associate - Department of Operations Research (9/80-8/84)
          Research Associate - Department of Operations Research (6/77-8/80)

EDUCATION
    HARVARD UNIVERSITY:
          Postdoctoral Fellow - John F. Kennedy School of Government
          Research Topic: Quantitative Models in Energy Policy

       UNIVERSITY OF CALIFORNIA, BERKELEY:
            Doctor of Philosophy - Management Science
            Minor Fields: Economics, Operations Research, Organization Theory

       RENSSELAER POLYTECHNIC INSTITUTE:
            Master of Science in Operations Research and Statistics
            Master of Science in Management
            B.S. in Aeronautical Engineering and Astronautics




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                                   RESEARCH EXPERIENCE

STANFORD UNIVERSITY
     PROGRAM ON INTEGRATED ASSESSMENT MODELING DEVELOPMENT
     DIAGNOSTICS AND INTERCOMPARISONS: Cutting edge research on uncertainty,
     technology dynamics, and fine scale climate impacts, model diagnostics development, and
     scenario ensemble construction for IAM community- Lead PI (20 PIs at seven institutions) 8/10-
     ENERGY MODELING FORUM: The EMF conducts systematic comparative studies of
            energy-economic models applied to policy problems of current interest.
            Director (9/84-present)
            Executive Director (J.L. Sweeney, Director): 1/83 - 8/84
            Deputy Director (J.L. Sweeney, Director): 12/79 – 12/82
            Associate Director (J.L. Sweeney, Director): 8/78 – 11/79
            Research Staff (W.W. Hogan, Director): 6/77 – 11/79
     SNOWMASS SUMMER WORKSHOPS ON INTEGRATED ASSESSMENT OF CLIMATE
     CHANGE: Inter-disciplinary workshops on critical issues for integrated assessment - 6/95-
     PRECOURT INSTITUTE FOR ENERGY EFFICIENCY:
            Deputy Director (J.L. Sweeney, Director): 9/07-present
     GLOBAL CLIMATE AJND ENERGY PROJECT
            Staff (Lynn Orr, Director): 9/02-9/06
     GENERAL MOTORS COLLABORATIVE LABORATORY ON WORK SYSTEMS
            Co-Director (With Arthur Veinott): 9/00-9/03
     INTERNATIONAL ENERGY PROGRAM: The IEP conducted studies on international energy
            policy issues of current interest.
            Research Staff (A.S. Manne, Director). 7/81 – 8/85
            Research Staff (H.S. Rowen, Director): 9/77 - 6/81
     COMBINING ENERGY MODELS PROJECT: The CEM project attempted to develop a set of
            rules for the combination of energy models of different types.
            Research Staff (W.W. Hogan & L.J. Lau, Principal Investigators): 8/77 - 4/81

HARVARD UNIVERSITY
    ENERGY AND ENVIRONMENTAL POLICY CENTER: 4/76 - 6/77
                  .
RAND CORPORATION (Summer Internships)
    Air Force Energy Problems (for J.R. Gebman): 6/75 - 3/76
    Air Force R&D Planning (for G.K. Smith): 6/74 - 9/74
    Air Quality Modeling (for J.R. Gebman): 6/72 - 9/72
    Aerodynamics Computer Module (for G.K. Smith): 6/70 - 9/70

U.C., BERKELEY
       ENERGY & RESOURCES PROGRAM:
            Post Graduate Researcher (J.P. Holden, Director): 9/74-6/75

       OPERATIONS RESEARCH CENTER:
            Postgraduate Researcher (R.C. Grinold, Director): 10/72-12/73
                                                                                               Page 2
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                                    TEACHING EXPERIENCE

STANFORD UNIVERSITY
     COURSES TAUGHT:
          Energy Policy and Strategy Modeling (EES 283 & EES&OR 483 & MS&E 473)
          1979 – 2001
          International Environmental Policy (MS&E 92Q): 2001-present
          Policy and Strategy Analysis (MS&E 190): 2006-2009
          Public Policy Analysis (MS&E 290): 2000-2006 (with William Perry)
          Climate Policy Analysis (MS&E 294): 2004-present
          Energy Policy Analysis (MS&E 295): 2005-present
          Doctoral Research Seminar in Advanced Energy and Environmental Analysis
           (MS&E 391): 2011-present.
          Entrepreneurship through the Lens of Venture Capital
           (MS&E 476): 2014-present (with Ernestine Fu)
          The Energy Seminar
           (MS&E 494): 2014-present
          Entrepreneurship from Business to Government
           (MS&E 477): 2015-present (with Ernestine Fu)

            Seminar on Business & Technology
            Department of Engineering-Economic Systems 1987 – 1993
            Models and Applications of Operations Research in Society (O.R. 50/150)
            Department of Operations Research 1979-1980

            Contingency Planning – The World Oil Market
            (O.R. 348 A, B, and C, with A. S. Manne)
            Department of Operations Research 1981 – 1982

            Financial Decisions, IE 235
            Department of Industrial Engineering
            Winter 1990, fall 1990, Winters 1993, 1994 & 1995


      DISSERTATION COMMITTEES (Total – 191; Principal Adviser – 42):
           Principal Advisees (Completed Only)
           Gregory Hamm (Engineering-Economic Systems – 1986)
           Xia Shi (Engineering-Economic Systems – 1989)
           Douglas Robinson (Engineering-Economic Systems – 1990)
           Peter Lilienthal (Engineering-Economic Systems- 1991)
           Hean-Lee Poh (Engineering-Economic Systems -1991)
           Sylvia Kwan (Engineering-Economic Systems – 1994)
           Eric Johnson (Engineering-Economic Systems – 1994)
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          Ming-Fai Sit (Engineering-Economic Systems – 1994)
          Elisabeth Browne (Engineering-Economic Systems – 1995)
          Thomas Hoff (Engineering-Economic Systems and Operations Research – 1996)
          Robert Earle (Engineering-Economic Systems and Operations Research – 1996)
          Chi-Peng Chu (Engineering-Economic Systems and Operations Research – 1996)
          Shu-Cheng Liu (Engineering-Economic Systems and Operations Research – 1997)
          Enrique Garza-Escalante (Eng.-Economic Systems and Operations Research- 1998)
          Quingxuan Meng (Engineering-Economic Systems and Operations Research – 1998)
          Michael Hsu (Engineering-Economic Systems and Operations Research – 1999)
          Akira Maeda (Engineering-Economic Systems and Operations Research – 1999)
          Karen (Cushing) Sepucha (Eng.-Economic Systems and Operations Research – 1999)
          Karl Knapp (Eng.-Economic Systems and Operations Research – 1999)
          Kevin Zhu (Eng.-Economic Systems and Operations Research – 1999)
          Antje Kann (Eng.-Economic Systems and Operations Research – 2000)
          Wenlong Weng (Eng.-Economic Systems and Operations Research – 2001)
          Michelle Freed (Eng.-Economic Systems and Operations Research – 2001)
          John McConnell (Eng.-Economic Systems and Operations Research – 2001)
          Erin Baker (Eng.-Economic Systems and Operations Research – 2002)
          Jochen Kleinknecht (Eng.-Economic Systems and Operations Research – 2002)
          Kazuhiro Ninomiya (Management Science and Engineering – 2003)
          Tao Yao (Management Science and Engineering – 2005)
          Albert Whangbo (Management Science and Engineering – 2005)
          Geoff Blanford (Management Science and Engineering – 2006)
          Oytun Eskiyenenturk ((Management Science and Engineering – 2006)
          Leslie Holmes Hummel (Interdisciplinary Program on Environment and Resources-2006)
          Katherine Calvin (Management Science and Engineering-2007)
          Dhruv Sharma (Management Science and Engineering -2010)
          Nikit Abhyankar (Interdisciplinary Program on Environment and Resources -2013)
          Danny Cullenward (E-IPER & JD Stanford Law School- 2013)
          John Bistline (Management Science and Engineering – 2013)
          Jordan Wilkerson (Management Science and Engineering – 2014)
          Delavane Diaz (Management Science and Engineering – 2015)
          Ben Leibowicz (Management Science and Engineering – 2016)
          Karim Farhat (Management Science and Engineering – 2016)
          Lauren Culver (Management Science and Engineering – 2017)

    ENGINEER’S THESIS ADVISEES (3):
         Teodoro Myslabodski (Operations Research)
         Anousheh Alamzad (Engineering-Economic Systems)
         Vincent Lui (Engineering-Economic Systems and Operations Research)


                                 OTHER ACTIVITIES

MAJOR ADVISORY BOARDS AND COMMITTEE MEMBERSHIPS
                                                                                       Page 4
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N.R.C. Committee on Nuclear and Alternative Energy Systems (1975-77)
The Institute for the Future – Advisory Board on NSF Interactive Modeling (1978-82)
Scientists’ Institute for Public Information – Oil Emergency Task Force (1980)
Energy Research Commission of Sweden-Research Program Evaluation Comm. (1982-84)
Office of Technology Assessment – Advisory Board on U.S. Gas Supply (1983-84)
Chairman: E.P.A. Peer Review Panel on Acid Deposition Research (1983-87)
Advisory Board – Electric Power Research Institute Visibility Valuation Project (1983-87)
National Academy of Sciences: Committee on the Gas Research Institute (1985-87)
Advisory Board on Utility Model Reviews, California Public Utilities Commission (1986-89)
Peer Reviewer Final Assessment Report-National Acid Precipitation Assessment Prog. (1990)
Secretary of Energy Advisory Board (1992-1993)
Nat. Renewable Energy Lab., Analytic Studies Division Advisory Board (1993-1996)
Convening Lead Author: Intergovernmental Panel on Climate Change Second Assessment
Report, Chapter on Integrated Assessment– Working Group III on Economic and Social
Dimensions (1993-1995)
Lead Author: The Contribution of the Social Sciences to Global Climate Change Policy:
A State of the Art Report (1993-1996)
Director: Snowmass Workshops on Climate Change Impacts and Integrated Assessment
   (1995-)
Advisory Board, Consortium on International Earth Sciences Information Network (1995-2002)
Lead Author, Intergovernmental Panel on Climate Change, Special Report on Emissions
   Scenarios (1996-1998).
Advisory Board: Yale/National Bureau of Economic Research Program on Economics and
  Policy Issues in Global Warming National Science Foundation Center (1996-2005)
Adviser: National Institute for Environmental Studies, Japan (1997-)
Chairman: External Review Panel- Electric Power Research Institute: Environment Division
Coordinating Lead Author, Intergovernmental Panel on Climate Change, Third
Assessment Report, Working Group II on Climate Impacts and Working Group III on
Climate Change Mitigation (1998-2001).
Independent Expert Review Panel, Energy Information Administration Report on Likely Costs
and Energy Sector Impacts of the Kyoto Protocol on Climate Change Policy, Report Prepared
for the U.S. House of Representatives Committee on Science (1998).
Chairman, Lawrence Berkeley Laboratory, Director’s Review Panel, Environmental Energy
Technologies Division (1998, 2003, 2008, 2011, 2015).
Co-founder, The Boathouse Group of Climate Negotiators fro the twelve largest carbon emitting
countries (2003- ).
Review Editor, Intergovernmental Panel on Climate Change, Assessment Report Number Four,
(2004-2007).
California Air Resources Board, (ARB) –Economic and Technology Advancement Advisory
Committee (ETAAC) (2007- ).
World Bank – Academic Advisory Board for World Development Report on Climate Change –
2010.
Chairman, Scientific Advisory Board, European Commission’s AMPERE Project on Integrated
Assessment Model Diagnostics.
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Steering Committee, Latin American Modeling Project
Member: Economic and Technology Advancement Advisory Committee to the California Air
  Resources Board on Implementation of AB32 the Climate Solutions Act of 2006
American Statistical Association Review Committee, the Energy Information Administration –
U.S. Department of Energy (2006-2012) (2015- ).
Co-Editor in Chief , Energy Economics
Editorial Board, The Energy Journal
Chairman: Scientific Steering Committee of the Integrated Assessment Modeling Consortium
(IAMC) - 50 International Member Institutions (2007-present).
National Academy of Sciences Committee on America’s Climate Choices; Advancing the
Science of Climate Change, Board on Atmospheric Sciences and Climate, National Academy of
Sciences (2008-2010).
Review committee member and chair: International Institute for Applied Systems Analysis.
Participant, Forums on Global Change, Joint Program on the Science and Economics of Global
Change, Massachusetts Institute of Technology.
Adviser: National Institute for Environmental Studies, Japan.
Member, Steering Committee, The International Project on “Developing a Technology Strategy
 for Dealing With Climate Change,” Lead by Pacific Northwest National Laboratory for An
 International Consortium of Government and Industry Sponsors.
Review Editor, Inter-Governmental Panel on Climate Change Report Number Five,
(2010-2013).
Chairman, Scientific Advisory Board, European Commission’s ADVANCE Project on Cutting
Edge Research for Integrated Assessment Modeling.
Chairman, Scientific Advisory Board, European Commission’s Climate and Development
Linkages (CD-LINKS) Project on Cutting Edge Research for Integrated Assessment Modeling.
Biological and Environmental Research Advisory Board, Office of Science, U.S. Department of
Energy (2014- ).
National Academy of Sciences Committee on Valuing Climate Damages: Updating Estimation of
the Social Cost of Carbon Dioxide, Board on Atmospheric Sciences and Climate, National
Academy of Sciences (2015-2017).




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OTHER UNIVERSITY ACTIVITIES
     Freeman Spogli Institute for International Studies
     SENIOR FELLOW (1998-2012)

       Woods Institute for the Environment
       SENIOR FELLOW (2007-2016)

       Precourt Institute for Energy
       SENIOR FELLOW (2010- )

       Northeast Asia - United States Forum on International Policy
       FELLOW (1982 - 1985)

       Engineering Library Committee
       MEMBER 1986-1995
       CHAIRMAN 1988-1991

       University Committee on Libraries
       MEMBER 1988-1991

OFFICES IN PROFESSIONAL SOCIETIES
     President, Northern California Chapter-International Association of Energy Economists
     Vice President, U.S. Institute of Energy Economics
     Vice President, International Association for Energy Economics
     Chairman, IAEE Nominating Committee for 1989
     Selection Committee – Best Paper in the Energy Journal for 1997 - 1998

CONSULTING
    Rand Corporation
    Electric Power Research Institute
    U. S. Department of Energy
    Environmental Protection Agency
    Pan Heuristics
    Applied Decision Analysis
    Science Applications, Inc.
    Charles River Associates
    U.S. Arms Control and Disarmament Agency
    United States Synthetic Fuels Corporation
    National Acid Precipitation Assessment Program
    California Energy Commission
    Federal Trade Commission




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                                MAJOR HONORS and AWARDS

STANFORD UNIVERSITY

      Outstanding Contributions to the Profession Award for 2017, International Association for
      Energy Economics (Maximum One Award per Year)

      Adelman Frankel Award for 2008, U.S. Association for Energy Economics, for Unique and
      Enduring Contributions to the Field (Maximum One Award per Year)

      Nobel Peace Prize, 2007, Significant Contributions to the Intergovernmental Panel on Climate
      Change Award.


HARVARD UNIVERSITY:
    POSTDOCTORAL FELLOW, National Science Foundation, Harvard University (1976-1977)

UNIVERSITY OF CALIFORNIA, BERKELEY:
     REGENTS FELLOW (1972-1974)
     DISTINCTION Plus, Ph.D. Qualifying Examination in Economic Theory (June 1973)
     DISTINCTION Plus, Ph.D. Qualifying Examination in Operations Research (September 1973)
     DISTINCTION Plus, Ph.D. Qualifying Examination in Management Science (Dec. 1973)


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                          Exhibit 1
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                            Exhibit 1
                Dr. Trenberth and Prof. Running's
     Alleged Climate Change Impacts and Injuries to Plaintiffs

                                                  Dr. Trenberth                             Dr. Running
      Youth Plaintiffs Identified in   Alleged Climate Alleged Plaintiff        Alleged Climate    Alleged Plaintiff
            the Complaint               Change Effect     Injury/Impact          Change Effect       Injury/Impact

1    Aji P.                                                                   Wildfires,         Recreation,
     West Seattle, Washington                                                 Ecological Changes Air Quality

2    Alexander Loznak                                                         Wildfires,         Recreation,
     Kellogg, Oregon                                                          Drought,           Air Quality,
                                                                              Excessive Heat,    Economic Loss
                                                                              Freshwater
                                                                              Degradation,
                                                                              Ecological Changes

3    Avery M.                                                                 Wildfires,          Recreation,
     Eugene, Oregon                                                           Excessive Heat,     Air Quality
                                                                              Ecological Changes,
                                                                              Freshwater
                                                                              Degradation

4    Hazel V.                                                                 Wildfires,          Recreation,
     Eugene, Oregon                                                           Excessive Heat,     Air Quality
                                                                              Ecological Changes,
                                                                              Freshwater
                                                                              Degradation

5    Isaac V.
     Beaverton, Oregon
6    Jacob Lebel                       Wildfires        Air Quality           Wildfires,         Recreation,
     Roseburg, Oregon                                                         Drought,           Air Quality,
                                                                              Excessive Heat,    Economic Loss
                                                                              Freshwater
                                                                              Degradation
                                                                              Ecological Changes

7    Jaime B.                          Drought,         Water Quality &       Wildfires,         Recreation,
     Flagstaff, Arizona                Wildfires,       Scarcity              Excessive Heat,    Air Quality,
                                       Excessive Heat                         Ecological Changes Water Quality &
                                                                                                 Scarcity,
                                                                                                 Economic Loss
8    Jayden F.                         Storms &         Economic Loss
     Rayne, Louisiana                  Hurricanes
9    Journey Z.                        Storms &         Economic Loss,
     Kaua'i, Hawai'i                   Hurricanes       Safety
10   Kelsey Cascadia Rose Juliana                                             Wildfires,         Recreation,
     Eugene, Oregon                                                           Ecological Changes Air Quality

11   Kiran Isaac Oommen
     Eugene, Oregon
12   Levi D.                           Storms &        Economic Loss,
     Indialantic, Florida              Hurricanes,     Recreation
                                       Coastal Erosion
13   Miko V.
     Beaverton, Oregon



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                             Exhibit 1
                 Dr. Trenberth and Prof. Running's
      Alleged Climate Change Impacts and Injuries to Plaintiffs

                                                    Dr. Trenberth                                 Dr. Running
      Youth Plaintiffs Identified in     Alleged Climate Alleged Plaintiff            Alleged Climate    Alleged Plaintiff
            the Complaint                 Change Effect     Injury/Impact              Change Effect       Injury/Impact

14   Nathaniel B.                        Wildfires,          Economic Loss           Wildfires,         Recreation,
     Fairbanks, Alaska                   Excessive Heat                              Ecological Changes Air Quality

15   Nicholas V.                                                                     Wildfires,         Recreation,
     Lakewood, Colorado                                                              Ecological Changes Air Quality

16   Sahara V.                                                                       Wildfires,         Recreation,
     Eugene, Oregon                                                                  Ecological Changes Air Quality

17   Sophie K.
     Allentown, Pennslyvania
18   Tia Marie Hatton
     Bend, Oregon
19   Victoria B.                         Storms &            Economic Loss,
     White Plains, New York              Hurricanes          Safety
20   Xiuhtezcatl Tonatiuh M.             Storms &            Economic Loss           Wildfires,         Recreation,
     Boulder, Colorado                   Hurricanes                                  Ecological Changes Air Quality,
                                                                                                        Spiritual & Cultural
                                                                                                        Practice
21   Zealand B.                          Wildfires           Economic Loss           Wildfires,         Recreation,
     Eugene, Oregon                                                                  Ecological Changes Air Quality,
                                                                                                        Economic Loss
Source: Complaint, pp. 6-33; Trenberth Report, pp. 20-22; Running Report, pp. 6-17




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                          Exhibit 2
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                          Exhibit 3
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                                                      Exhibit 3A
                                     Projected Atmospheric CO2 Concentration
    CO2
Concentration                          No U.S. Fossil Fuel Emisisons after 1990
   (ppm)
                                                                                                                                     2015
450




430




410
                                                                                                                          401



                                                                          World
390
                                                                   (with U.S. Emission)
                                                                                                                                            389


370                                                                                         World
                                                                                   (without U.S. Emissions)



350
   1990            1993           1996           1999            2002           2005           2008           2011            2014            2017          2020
Source: Author's calculations using MAGICC6; U.S. Energy Information Administration ("EIA"), "International Energy Outlook 2017," September 2017; EIA, "Annual
Energy Outlook 2017," January 2017; National Oceanic and Atmospheric Administration, Earth System Research Laboratory Global Monitoring Division.

Note:
[1] Projections are from the MAGICC6 model using the RCP45 concentration pathway as a baseline and historical concentration data through 1989. Actual CO2
    emissions from fossil fuels from 1990 – 2015 and projected emissions from 2015 – 2020 are subtracted from the baseline RCP45 emissions path to predict CO2
    concentration with no US Emissions. Actual U.S. emission data is from the EIA.
[2] In 2015, actual CO2 Atmospheric Concentration was 399 ppm as measured by the Earth System Research Laboratory; Predictions from the model only use
    historical concentration data through 1989, which causes a deviation from the measured concentrations.
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                                             Exhibit 3B
    CO2
                            Projected Atmospheric CO2 Concentration
Concentration
   (ppm)
                      25% Reduction in U.S. Emissions after 1990 Relative to BAU
                                                                                                                                     2015
450




430




410
                                                                                                                          401




390                                                                       World                                                             398
                                                                   (with U.S. Emission)



370                                                                                      World
                                                                           (US Reduces 25% Relative to Baseline)



350
   1990            1993           1996           1999            2002           2005           2008           2011            2014            2017          2020
Source: Author's calculations using MAGICC6; U.S. Energy Information Administration ("EIA"), "International Energy Outlook 2017," September 2017; EIA, "Annual
Energy Outlook 2017," January 2017; National Oceanic and Atmospheric Administration, Earth System Research Laboratory Global Monitoring Division.

Note:
[1] Projections are from the MAGICC6 model using the RCP45 concentration pathway as a baseline and historical concentration data through 1989. Actual CO2
    emissions from fossil fuels from 1990 – 2015 and projected emissions from 2015 – 2020 are multiplied by .25 and subtracted from the baseline RCP45 emissions
    path to predict CO2 concentration with a 25% reduction in U.S. emissions. Actual U.S. emission data is from the EIA.
[2] In 2015, actual CO2 Atmospheric Concentration was 399 ppm as measured by the Earth System Research Laboratory; Predictions from the model only use
    historical concentration data through 1989, which causes a deviation from the measured concentrations.
